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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION



 DEFENSE DISTRIBUTED and                          §
 SECOND AMENDMENT FOUNDATION, INC., §
                                                  §
                         Plaintiffs,              §
                                                  §
                         v.                       §
                                                  §
 GURBIR GREWAL, in his official capacity as the §
 State of New Jersey’s Attorney General;          §
 MICHAEL FEUER, in his official capacity as the §
 City of Los Angeles, California’s City Attorney; §   Case No. 1:18-CV-637-RP
 ANDREW CUOMO, in his official capacity as the §
 State of New York’s Governor; MATTHEW            §
 DENN, in his official capacity as the State of   §
 Delaware’s Attorney General; JOSH SHAPIRO,       §
 in his official capacity as the Commonwealth of  §
 Pennsylvania’s Attorney General; and THOMAS §
 WOLF, in his official capacity as the            §
 Commonwealth of Pennsylvania’s Governor,         §
                                                  §
                         Defendants.              §



     NEW YORK GOVERNOR ANDREW M. CUOMO’S REPLY MEMORANDUM
                IN SUPPORT OF HIS MOTION TO DISMISS
        PURSUANT TO FED. R. CIV. PROC. 12(b)(1), 12(b)(2), AND 12(b)(3)
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         Pursuant to Federal Rules of Civil Procedure 12(b)(1), 12(b)(2), and 12(b)(3), on

 November 19, 2018, Defendant Andrew M. Cuomo, the Governor of the State of New York,

 filed a Motion to Dismiss Plaintiffs’ First Amended Complaint. Dkt No. 55. Plaintiffs Defense

 Distributed and the Second Amendment Foundation, Inc. (“Plaintiffs”) opposed that motion on

 December 12, 2018. Dkt. No. 73. For the reasons set forth in his opening memorandum of law

 and for those further reasons set forth below in this reply memorandum of law, Governor Cuomo

 respectfully requests that the Court dismiss this action as against him in its entirety.

                                 PRELIMINARY STATEMENT

         As noted in Governor Cuomo’s opening memorandum of law, Plaintiffs have attempted

 to hale the New York Governor into the United States District Court in Texas simply because he

 sent a single cease and desist letter from New York to Texas and made a single telephone call

 from New York to Plaintiffs’ counsel in Texas reiterating the same points made in that cease and

 desist letter. But in his opening brief Governor Cuomo established that Stroman Realty, Inc. v.

 Wercinski, 513 F.3d 476 (5th Cir. 2008), is a case directly on point requiring dismissal of this

 action as against him. In that case, the Fifth Circuit held that when a government official from

 another state does exactly what Governor Cuomo has allegedly done here, those actions do not

 create the type of “minimum contacts” that are necessary under either the Texas long-arm statute

 or the Due Process Clause of the U.S. Constitution to create personal jurisdiction. Id. at 483-89.

         In their opposition brief, Plaintiffs attempt to distinguish Stroman Realty and argue that it

 does not even apply here because of judicial estoppel, but as is firmly established below, they

 utterly fail in that task. Plaintiffs also completely fail to establish that venue is proper in this

 District Court in Texas. And they absolutely fail to show that this case is ripe for review under

 the Fifth Circuit’s holding in Google, Inc. v. Hood, 822 F.3d 212 (5th Cir. 2016). Thus, for all of

 these reasons, Governor Cuomo’s Motion to Dismiss should be granted by the Court.
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                                           ARGUMENT

                                              POINT I

        PLAINTIFFS STILL HAVE NOT ESTABLISHED THAT UNDER
        STROMAN REALTY, INC. V. WERCINSKI, 513 F.3d 476 (5th Cir. 2008)
        THERE IS ANY PERSONAL JURISDICTION OVER GOVERNOR
        CUOMO IN THIS TEXAS DISTRICT COURT.

        In Stroman Realty Inc. v. Wercinski, 513 F.3d 476, the Fifth Circuit concluded that an

 out-of-state government official did not expressly create a forum in Texas by doing things like

 sending cease and desist letters to a Texas-based business and contacting that Texas-based

 business’ lawyers. Those facts should surely sound familiar to this Court because they are

 precisely the same set of facts that Plaintiffs allege here against a government official – Governor

 Cuomo. See Dkt. No. 23, First Amend. Complt., ¶¶ 102-108, and Exhibit I. Yet the holding of

 the Fifth Circuit in Stroman Realty was that, when the out-of-state government official was

 merely attempting to uphold and enforce the laws of his or her own state, that cannot create

 personal jurisdiction in Texas. 513 F.3d at 484. This case is directly on point and it controls the

 outcome of Governor Cuomo’s motion.

        Plaintiffs try to wiggle out from under the crushing weight that the Stroman Realty

 precedent puts on them by making three weak arguments. First, Plaintiffs assert that Stroman

 Realty does not even apply here because the doctrine of judicial estoppel supposedly prevents

 Governor Cuomo from raising the issue of personal jurisdiction in the first instance. Second,

 Plaintiffs suggest that Stroman Realty is no longer good law, citing Walden v. Fiore, 571 U.S.

 277 (2014). Third, Plaintiffs assert that even if it is good law, Stroman Realty can be easily

 distinguished from the facts here. All three of these contentions are meritless.




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    A. Judicial Estoppel Does Not Apply to the Personal Jurisdiction Issue Here Because
       Governor Cuomo Was Not a Party to the Washington State Litigation

        Judicial estoppel is “a common law doctrine by which a party who has assumed one

 position in his pleadings may be estopped from assuming an inconsistent position.” Brandon v.

 Interfirst Corp., 858 F.2d 266, 268 (5th Cir. 1988). The purpose of the doctrine is “to protect the

 integrity of the judicial process”, by “preventing parties from playing fast and loose with the

 courts to suit the exigencies of self interest.” Id. (internal quotation marks, parentheses, and

 citation omitted). Again, the doctrine is intended to protect the judicial system, rather than the

 litigants. Browning Mfg. v. Mims (In re Coastal Plains, Inc.), 179 F.3d 197, 205 (5th Cir. 1999).

 Courts have identified “at least two limitations on the application of the doctrine”: (1) “it may be

 applied only where the position of the party to be estopped is clearly inconsistent with its

 previous one”; and (2) “that party must have convinced the court to accept that previous

 position.” Id. at 206 (emphasis added).

        Without spelling out their argument for the Court with absolute clarity, Plaintiffs in all

 reality assert that Governor Cuomo cannot raise a personal jurisdiction defense here because

 New York’s Attorney General – which is Barbara D. Underwood – joined in with seven other

 sister States and the District of Columbia in the litigation brought in the Washington State

 District Court, i.e., State of Washington v. United States Dep’t of State, 2:18-CV-1115-RSL

 (W.D. Wash.). More specifically, Plaintiffs assert that it is inconsistent for “New York” (which

 is the general language that Plaintiffs use) to bring a lawsuit in Washington State while at the

 same time denying personal jurisdiction against “New York” in Texas. Dkt. No. 73 at 9.

        However, the doctrine of judicial estoppel simply does not apply here because “the party

 against whom judicial estoppel is invoked must be the same party who made the prior

 (inconsistent) representation.” Perry v. Blum, 629 F.3d 1, 9 (1st Cir. 2010) (emphasis added).

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 In New York State, however, the Attorney General – who brought and presently litigates the

 Washington State case – holds a completely separate constitutional office than the Governor.

 N.Y.S. Constitution, art. V, sec. 1. The Attorney General is not appointed by the Governor;

 rather each are entirely separate constitutional officers of the State of New York. Id. So,

 because courts “refuse to apply judicial estoppel to one party based on the representations of an

 unrelated party,” Perry, 629 F.3d at 9 (citing Tenn. ex rel. Sizemore v. Surety Bank, 200 F.3d

 373, 381-82 (5th Cir. 2000); Parker v. Wendy’s Int’l, Inc., 365 F.3d 1268, 1272 (11th Cir. 2004);

 Bethesda Lutheran Homes & Servs., Inc. v. Born, 238 F.3d 853, 858 (7th Cir. 2001)), the

 doctrine of judicial estoppel simply does not apply here.

        In other words, because (1) New York’s Attorney General and Governor Cuomo are not

 the same party; (2) New York’s Attorney General does not work for Governor Cuomo;

 (3) Governor Cuomo cannot direct the Attorney General to take any particular litigation stance,

 and (4) Governor Cuomo is not alleged to have been involved in the Washington State litigation

 in any way, it follows that judicial estoppel cannot apply in this circumstance.

        Furthermore, it cannot even be said that New York’s Attorney General affirmatively took

 a contrary position in the Washington State litigation from the position that Governor Cuomo

 raises here in this Texas District Court. Stated differently, at no time did New York’s Attorney

 General either implicitly or explicitly assert that the Plaintiffs would have personal jurisdiction

 over Governor Cuomo in Texas. Indeed, when that Washington State litigation began, Governor

 Cuomo had not even sent the cease and desist letter to Defense Distributed and he had not yet

 even made the telephone call to Plaintiffs’ counsel. See First Amend. Complt., ¶¶ 103, 108.

 Also, Plaintiffs do not allege that Governor Cuomo’s name was even mentioned once during the

 Washington State litigation. Hence, the doctrine of judicial estoppel is completely inapplicable

 for these additional reasons.
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    B. Plaintiffs’ Attempt to Diminish and then Distinguish Stroman Realty Falls Flat

    Plaintiffs assert in their opposition brief that the “[c]ease-and-desist letters deployed to

 Defense Distributed in Texas are the keystone conduct that subjects each defendant to specific

 jurisdiction in Texas.” Dkt. No. 73 at 11. In making this argument, the Court might at first

 wonder if Plaintiffs purposely overlook the fact that cease and desist letters were also at issue in

 Stroman Realty and that the Fifth Circuit explicitly held that they were insufficient to create

 personal jurisdiction in Texas against out-of-state government officials. 513 F.3d at 484. Yet

 Plaintiffs appear to make their contrarian argument because, in their view, the Fifth Circuit

 should simply “revisit” its holding in Stroman Realty. Dkt. No. 73 at 12. Although they

 confidently cite to Walden v. Fiore to assert that the Fifth Circuit simply got Stroman Realty

 wrong, the cavalier claim that Stroman Realty is no longer good law is pure nonsense.

    This is so because, in Walden, the Supreme Court did nothing more than detail the facts and

 holding of Calder v. Jones, 465 U.S. 783 (1984), and in Calder, the Supreme Court had held that

 there are certain occasions when an intentional tort committed outside of the state, one that has

 consequences or “effects” within the state, will suffice as a basis for jurisdiction in a suit arising

 from those consequences if the “effects” are seriously harmful and were intended or highly likely

 to follow from the nonresident defendant’s conduct. Calder, 465 U.S. at 789. The Walden court

 found, though, that the Calder holding was inapplicable to the facts and circumstances at issue in

 that case. 571 U.S. at 288-90. Likewise, the Stroman Realty court carefully examined Calder’s

 facts and holding and it too determined that they were inapplicable to create personal

 jurisdiction. 513 F.3d at 485-86. Indeed, as the Stroman Realty court properly put it, “the

 Commissioner was not engaged in commercial transactions to obtain a commercial benefit by

 acting in a governmental capacity to enforce Arizona law. Because no such benefit accrues to

 the Commissioner from her activities relating to Texas, any jurisdiction based upon her having
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 caused an ‘effect’ in Texas is likewise misplaced.” 513 F.3d at 485 (emphasis added). Walden

 does not impact this holding at all. Indeed, it is quite clear that Stroman Realty is still seen as

 good law within the Fifth Circuit, as it has been recently cited with approval, see Shia v. Boente,

 2017 U.S. Dist. LEXIS 199772, at *13 (S.D. Tex. Nov. 16, 2017) (“[t]he Fifth Circuit has

 rejected the idea that a nonresident government official may be haled into a Texas court”) (citing

 with approval Stroman Realty, 513 F.3d at 485), and it should therefore certainly be applied by

 this Court. See Cedillo v. Valcar Enters. & Darling Del. Co., 773 F. Supp. 932, 936 (N.D. Tex.

 1991) (“As a district court bound by Fifth Circuit precedent, this court first turns to decisions of

 the circuit court to ascertain whether they command the outcome in this case.”).

        Plaintiffs also assert that Stroman Realty can be easily distinguished from the facts at

 issue here because “New York” (acting though its Attorney General, not Governor Cuomo)

 assisted seven other States and the District of Columbia to obtain a “nationwide injunction” in

 the Washington State District Court litigation. Dkt. No. 73 at 12. In making this argument,

 Plaintiffs cite from the following language of Stroman Realty: “Stroman does not allege the

 Commissioner has made any contacts with Texas apart from hypothetical contacts she may make

 with other prospective timeshare vendors while attempting to assert ‘nationwide’ authority.” 513

 F.3d at 484. To begin, the Fifth Circuit continued the thought it was making by stating

 immediately thereafter: “Based on such minimal known contacts, the Commissioner, a

 nonresident state official, could not have reasonably anticipated being haled into federal court in

 Texas to defend her enforcement of the Arizona statute.” Id. But even more important than this

 statement, it is quite clear that in Stroman Realty, the Fifth Circuit was confronted with a

 governmental official that was acting on a nationwide basis to enforce the laws of her state,

 including by sending other cease and desist letters – perhaps even dozens and dozens of them –

 to other individuals within Texas. Id. Yet this factor still did not create “minimum contacts” in
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 Texas. Id. It logically flows, then, that Governor Cuomo’s single cease and desist letter is

 likewise deficient to create personal jurisdiction in Texas.

    Furthermore, it is well-established law that “[e]ach defendant’s contacts with the forum State

 must be assessed individually.” Calder, 465 U.S. at 790 (emphasis added); Logan Int’l v.

 1556311 Alta. Ltd., 929 F. Supp. 2d 625, 631 (S.D. Tex. 2012) (same). Applying that crucial

 principle here, the fact that the New York’s Attorney General was (and is) involved in the

 Washington State litigation and obtained a “nationwide injunction” cannot create “minimum

 contacts” in Texas as related to a separate New York government official – Governor Cuomo.

 Indeed, it is simply not permissible for Plaintiffs to cobble together the actions of New York’s

 Attorney General with the actions of Governor Cuomo to determine if Governor Cuomo can be

 haled into a Texas district court, since that would not be an individual assessment of Governor

 Cuomo’s contacts. It is Governor Cuomo’s actions – and his actions alone – that determine if

 minimum contacts exist. And they clearly do not.

    Stroman Realty is, therefore, the hinge case upon which this entire jurisdictional issue turns

 and it acts to slam the door on there being any claim to personal jurisdiction over Governor

 Cuomo here in Texas.


                                              POINT II

        WITH REGARDS TO GOVERNOR CUOMO, VENUE IS STILL
        IMPROPER IN THE WESTERN DISTRICT OF TEXAS.

        First of all, “[w]hen a court dismisses a claim for lack of personal jurisdiction, a motion

 to dismiss for improper venue becomes moot.” Mercer v. McKenzie Tank Lines, Inc., 2018 U.S.

 Dist. LEXIS 109892, at *12 (S.D. Tex. July 2, 2018). Thus, since this Court should rightly grant

 dismissal for lack of personal jurisdiction here, the venue issue should become moot.



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         Nonetheless, invoking 28 U.S.C. § 1391(b)(2), Plaintiffs assert venue here because, as

 they state, “a substantial part of the property that is subject of the action is situated here.” First

 Amend. Complt., ¶ 24 (emphasis added). In truth, though, Plaintiffs’ claims against Governor

 Cuomo are clearly based upon actions – not property – that Governor Cuomo took in New York,

 not in Texas. Indeed, as is noted in his opening brief, Governor Cuomo is based in New York,

 the sole cease and desist letter was sent from New York, and Governor Cuomo made the sole

 telephone call to Plaintiffs’ counsel from New York. Furthermore, it is undisputed that

 Governor Cuomo makes no claim to the supposed “property” asserted by Plaintiffs as being at

 issue here, that being the Plaintiffs’ computer servers and/or computer files containing

 instructions on how to produce untraceable and nearly-undetectable 3-D guns. Stated differently,

 Governor Cuomo has not attempted to get Plaintiffs to turn over the 3-D gun-related servers or

 computer files; he has instead threatened legal action in New York if Defense Distributed

 distributes that uniquely dangerous material to New York residents. That, quite simply, makes

 the location of the supposed property at issue here completely irrelevant. This is entirely

 determinative because, as noted in Governor Cuomo’s opening brief, in deciding whether or not

 venue is proper, district courts “look[] to the defendant’s conduct, and where that conduct took

 place.” Bigham v. Envirocare of Utah, Inc., 123 F. Supp. 2d 1046, 1048 (S.D. Tex. 2000)

 (emphasis added). Under this standard, venue is improper here in Texas.


                                               POINT III

         PLAINTIFFS HAVE NOT SHOWN THAT THIS ACTION IS RIPE AS
         AGAINST GOVERNOR CUOMO UNDER GOOGLE, INC. V. HOOD, 822
         F.3d 212 (5th Cir. 2016).

         In his opening brief, Governor Cuomo cited this Court to Google, Inc. v. Hood, 822 F.3d

 212, a declaratory judgment challenge in which the Fifth Circuit held that a non-self-executing

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 subpoena that the Mississippi Attorney General issued to Google was not ripe for review in

 federal district court. Plaintiffs have wholly failed to distinguish the present case from Google,

 and thus dismissal on ripeness grounds is also warranted based upon that case.

        As background, before Google responded to the Mississippi Attorney General’s

 subpoena, and before Google sought relief in Mississippi state court related to that subpoena,

 Google filed a declaratory judgment challenge to the subpoena in federal court. Id. at 219.

 There, Google alleged, among other things, that the Mississippi Attorney General’s investigation

 violated its immunity rights under a federal statute, and that any further proceedings to enforce

 the subpoena would likewise violate those same rights. Id. at 219-20. The Mississippi Attorney

 General moved to dismiss the case on numerous grounds, including that Google’s claims were

 not ripe for adjudication. Google, Inc. v. Hood, 96 F. Supp. 3d 584, 592 (S.D. Miss. 2015),

 rev’d, 822 F.3d 212. The district court disagreed, however, and found that the claims were ripe

 because “Google is not required to expose itself to civil or criminal liability before bringing a

 declaratory action to establish its rights under federal law, particularly where the exercise of

 those rights have been threatened or violated.” Id. at 594. But the Fifth Circuit reversed the

 district court and held that the “administrative subpoena was not ripe for adjudication.” Google,

 822 F.3d at 224.

        The Fifth Circuit so held for three specific reasons: (1) the subpoena was “non-self-

 executing,” meaning that Google could not be sanctioned for not complying with it; (2) the

 Mississippi Attorney General could, but did not file a state court action to enforce Google’s

 compliance; and (3) if the Mississippi Attorney General did file such a suit, Google could raise

 its claimed federal immunity rights as a defense in state court. Google, 822 F.3d at 225-26.

        As Governor Cuomo argued in his opening brief, this case is clearly analogous to the

 matter at bar. The cease and desist letter at issue in the present case is also not self-executing;
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 instead, if Defense Distributed refuses to comply with it, Governor Cuomo would have to decide

 whether to initiate a nuisance action against Defense Distributed. And if Governor Cuomo

 decided to bring a nuisance action in a New York State court, Plaintiffs could raise before that

 state court all of the objections that it raises here. That quite frankly means that, under Google,

 this matter is not yet ripe for review. Nothing that Plaintiffs assert in their opposition brief,

 including their passing mention of Google in a footnote related to the issue of “standing”, not

 “ripeness”, see Dkt. No. 73 at 4 n.2, adequately distinguishes Google from the matter at bar.

 Thus dismissal is appropriate on ripeness grounds as well.


                                           CONCLUSION

        In summary, the Court should grant Governor Cuomo’s Motion to Dismiss for the

 reasons advanced in Governor Cuomo’s opening memorandum of law and those advanced here

 in his reply memorandum of law.

 Dated: December 19, 2018                       Respectfully submitted,
        Dallas, Texas
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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 19, 2018, I electronically filed the foregoing with the
 Clerk of Court using the CM/ECF system, which will send notification of such filing to the
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